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                    IN THE UNITED STATES DISTRICT COURT
                 FOR THE EASTERN DISTRICT OF PENNSYLVANIA

UNITED STATES OF AMERICA                      :             Case #2:18-cr-00193-NIQA-1
                                              :
         v.                                   :
                                              :
DKYLE JAMAL BRIDGES                           :

                                          ORDER

      AND NOW, to wit, this                day of November 2018, the Court hereby FINDS

and ORDERS as follows:

      1. Defendant’s Motion to Continue Trial is GRANTED;

      2. Jury selection and trial currently scheduled for November 21, 2018 is cancelled;

      3. A status conference with counsel for the Government and counsel for all Defendants

         shall be scheduled for __________________________________, 2018;

      4. The time period from November 21, 2018 is excluded from the time within which

         trial must commence pursuant to the Speedy Trial Act, 18 U.S.C. §3161(h)(7)(A) and

         18 U.S.C. §3161(h)(7)(B)(I) and (iv); and,

      5. The ends of justice served by granting the continuance outweigh the best interest of

         the public and the Defendants in a speedy trial.



                                                   BY THE COURT:




                                                              Nitza I Quinones Alejandro, DCJ
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                       IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF PENNSYLVANIA

UNITED STATES OF AMERICA                            :     Case #2:18-cr-00193-NIQA-1
                                                    :
             v.                                     :
                                                    :
DKYLE JAMAL BRIDGES                                 :

                     DEFENDANT’S MOTION TO CONTINUE TRIAL

TO THE HONORABLE NITZA I QUINONES ALEJANDRO, JUDGE OF THE SAID COURT:

        Defendant, Dkyle Jamal Bridges, by and through his attorney, Andrew David Montroy,

hereby moves for a continuance of the November 21, 2018 trial, and requests that a conference

with the Government and all defense counsel be scheduled, and in support thereof, states as

follows:

       1.     Trial is set for November 21, 2018.

       2.     On October 26, 2018, defense counsel received ten additional discs of discovery,

which are protected under this Court’s Order.

       3.     Discovery is voluminous, and is believed to consist of numerous hours of prison

phone calls and interviews of witnesses as well as thousands of pages of documents, emails and

images. Additional time is needed for review of discovery with the Defendant at the Federal

Detention Center, and further investigation.

       4.     Defense counsel is requesting a continuance of the November 21, 2018, and would

also ask that Court schedule this matter for a conference with the Government and all defense

counsel so that a trial date certain can be selected.
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        5.     Pursuant to 18 U.S.C. §3161(h)(7)(B), and consistent with the holding in United

States v. Toombs, 574 F.3d 1262 (10th Cir. 2009), Defendant submits that good grounds exist for

the continuance.

        6.     The ends of justice will be served by granting a trial continuance pursuant to

§3161(h)(7)(A).

        7.     Granting a continuance for the above-stated reasons outweigh the interest of the

public and the Defendants in a speedy trial. Furthermore, a plea agreement between the United

States and the Defendant, or a properly prepared defense, is in the best interests of justice.

        8.     The time until the next scheduled trial date is excludable time under the Speedy Trial

Act, and all reasons for the continuance appear on the face of the motion such that a supporting

brief is unnecessary.

        9. This Motion has the Government’s concurrence. Defense counsel for Mr. Jones is

opposed to this motion.

        WHEREFORE, Defendant, Dkyle Jamal Bridges, respectfully requests this Honorable

Court enter an Order continuing the November 21, 2018 trial, schedule a conference with the

Government and all defense counsel, and for such other and further relief which the Court deems

just.

                                                       Respectfully submitted,


                                                                   /s/ Andrew Montroy
                                                       Law Offices of Andrew David Montroy
                                                       By: Andrew David Montroy, Esquire
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                                                       Attorney for Defendant Bridges
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                      IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF PENNSYLVANIA

UNITED STATES OF AMERICA                        :           Case #2:18-cr-00193-NIQA-1
                                                :
           v.                                   :
                                                :
DKYLE JAMAL BRIDGES                             :

                               CERTIFICATE OF SERVICE

       I, Andrew David Montroy, Esquire, hereby certify that I am this day electronically filing

Defendant’s Unopposed Motion to Continue Trial, as well as serving a true and correct copy of

same upon the following by first class mail, postage prepaid:

                              Seth M. Schlessinger, Asst. U.S. Atty.
                              Office of the United States Attorney
                              615 Chestnut Street, Suite 1250
                              Philadelphia, PA 19106

                              Leigh Michael Skipper, Esquire
                              Defender Association of Philadelphia
                              The Curtis Center, Suite 540 West
                              Independence Square West
                              Philadelphia, PA 19106
                              Attorney for Defendant Jones


                                                                /s/ Andrew Montroy
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DATED: November 2, 2018
